[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION MOTION FOR STAY OF ARTHUR ANDERSEN  CO. AND EDMUND AUTORI
The defendants Arthur Andersen  Co. and Edmund Autori have moved for Stay in the above action for the reason CT Page 7060 that a virtually identical action is pending in the Federal Court. The Motion for Stay is denied because Arthur Andersen 
Co. and Edmund Autori are not parties to the Federal counterpart of this action, Skiba v. Dwelling Development Corp. et al, 291CV522 (JAC).
By The Court
Aurigemma, J.